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     JOHN MACDONALD HALLANGER
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 7
 8
                        UNITED STATES DISTRICT COURT
 9
                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       CASE NO. 1:05-CR-242
                                       )
12              Plaintiffs,            )   STIPULATION AND PROPOSED
                                       )   ORDER TO CONTINUE SENTENCING
13   vs.                               )   AND SET FOR EVIDENTIARY
                                       )   HEARING
14                                     )
     JOHN MACDONALD HALLANGER,         )
15                                     )
                Defendants.            )
16                                     )
17         IT IS HEREBY STIPULATED by and between defendant JOHN
18   MACDONALD HALLANGER, through his attorney, ROBERT L.
19   FORKNER, and plaintiff United States of America, through its
20   counsel of record, Assistant United States Attorney KIMBERLY
21   SANCHEZ, stipulate and agree to the following:
22         1.   Counsel for government and counsel for defendant
23   have actively been trying to resolve certain stipulations
24   and issues regarding sentencing for defendant JOHN MACDONALD
25   HALLANGER and have been unable to do so. It is requested
26   that a one to two hour evidentiary hearing regarding
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 1   sentencing be scheduled for January 4, 2008, at 1:30 p.m. or
 2   a date convenient to the court, in courtroom 3, and the
 3   presently scheduled sentencing date of December 7, 2007, at
 4   12:00 p.m., in courtroom 3 be vacated.
 5
 6   DATED: December 5, 2007           /s/ Robert L. Forkner
                                      ROBERT L. FORKNER
 7                                    Attorney for Defendant
                                      JOHN MACDONALD HALLANGER
 8
 9   DATED: December 5, 2007           /s/ Kimberly A. Sanchez
                                      KIMBERLY A. SANCHEZ
10                                    Assistant US Attorney
11
12
13
                                     ORDER
14
15        IT IS SO ORDERED that the December 7, 2007, 12:00 p.m.,
16   sentence be vacated and set the matter for an evidentiary hearing
17   and sentencing on January 4, 2008, at 1:30 p.m., in courtroom 3
18   for defendant JOHN MACDONALD HALLANGER.
19
20
     Dated: December 6, 2007          /s/ OLIVER W. WANGER
21                                    HONORABLE OLIVER W. WANGER
                                      UNITED STATES DISTRICT JUDGE
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